                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

 SHERMAN CREEK CONDOMINIUMS, INC.,

                                                        Plaintiff,

 v.                                                                                Case No.: 19-CV-1735

 MID-CENTURY INSURANCE COMPANY,

                                                          Defendant.


              THIRD STIPULATION TO AMEND THE SCHEDULING ORDER


       Due to the recent COVID-19 outbreak, the parties have found it difficult to conduct

discovery, although we were able to complete the adjustor’s deposition on June 25, 2020. The parties

continue to work cooperatively with one another to ensure that this case proceeds as much as

possible given the circumstances, but have found it necessary to request relief from the Scheduling

Order. The parties will attempt to move this case forward, although we are attempting to hit a

moving target given the COVID-19 outbreak.

       It is hereby stipulated by the parties, by their counsel of record, that:

       The plaintiff shall disclose the identities of expert witnesses along with reports and

supporting documentation, no later than the end of the day on August 3, 2020.

       The defendant shall disclose the identities of expert witnesses, along with reports and

supporting documentation, no later than the end of the day on November 2, 2020.

       No other dates are affected by this stipulation.




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Dated this 1st day of July, 2020.

                                      CRIVELLO CARLSON, S.C.

                                       /s/ Stacy K. Luell
                                By: __________ ______________________
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Dated this 1st day of July, 2020.

                                MAYER, GRAFF & WALLACE LLP

                                       /s/ John F. Mayer
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